Case 1:12-cv-03431-ARR-JO Document 1 Filed 07/10/12 Page 1 of 5 PageID #: 1
Case 1:12-cv-03431-ARR-JO Document 1 Filed 07/10/12 Page 2 of 5 PageID #: 2
Case 1:12-cv-03431-ARR-JO Document 1 Filed 07/10/12 Page 3 of 5 PageID #: 3
Case 1:12-cv-03431-ARR-JO Document 1 Filed 07/10/12 Page 4 of 5 PageID #: 4
Case 1:12-cv-03431-ARR-JO Document 1 Filed 07/10/12 Page 5 of 5 PageID #: 5
